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ANIPINY crigh gj jlons
‘Tous General Hospital

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Toos General Hospital
Date: 30 Shahrivar 1389 [Equivalent to 21 September 2010]

Tt is certified that:

Mr, Siamak Pourzand is afflicted with cervical and lumbar spinal arthritis and suffers
from heart and vascular disease, urinary system disease, has had surgery on his spinal
column, and is currently in a state of physical disability and is in very poor mental

condition that is very much due to being separated from his children, on whom he had
been very dependent, causing him to suffer from a severe loss of weight and severe
depression and he has been admitted to this hospital on five occasions:

1) From 26 Mehr 1383 [17 October 2004] to 3 Aban 1383 [24 October 2004] under
the care of Dr. Shakibi

2) From 27 Farvardin 1386 [16 April 2007] to 3 Ordibehesht 1386 [23 April 2007]
under the care of Dr. Shakibi

3) From 26 Aban 1388 [17 November 2009] to 18 Azar 1388 [9 December 2009]
under the care of Dr. Ashayeri

4) From 26 Azar 1388 [17 December 2009] to 27 Azar 1388 [18 December 2009]
under the care of Dr. Ashayeri

5) From 1 Tir 1389 [22 June 2010] to 3 Tir 1389 [24 June 2010] under the care of
Dr. Ashayeri

Signed by Dr. Fazlali Ashayeri and Dr. Shakibi [first name illegible on stamp]
